          Entered on Docket October 8, 2019                  Below is the Order of the Court.



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 2                                                            Timothy W. Dore
                                                              U.S. Bankruptcy Court
 3                                                            (Dated as of Entered on Docket date above)


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 8                              UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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10   IN RE:                                                       NO. 18-10441
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     THOMAS RAOUL WILLIAMSON and                                  ORDER GRANTING DEBTORS’
12   JUDITH AYA WILLIAMSON,                                       MOTION TO COMPEL
                                                                  ABANDONMENT OF RESIDENTIAL
13                          Debtors.                              REAL PROPERTY

14                                                                (6506 38th Ave. SW, Seattle)

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16            THIS MATTER came on regularly before this Court upon the Debtors’ Motion to Compel
17   Abandonment of Residential Real Property (the “Motion”). The Court having considered the Motion,
18   and the Court finding that notice of the Motion has been duly and properly issued, that no party in
19   interest has responded, and that the property described is of inconsequential value and benefit to the
20   Estate, now, therefore, IT IS HEREBY
21            ORDERED that the Motion is granted in all respects. Upon entry of this Order the following
22   property shall be deemed abandoned and shall no longer be property of the bankruptcy estate: The
23   residential real property located at 6506 38th Ave. SW, Seattle, Washington.
24                                             /// End of Order ///
25                                                                              WENOKUR RIORDAN PLLC
     ORDER - Page 1 of 2                                                                  ATTORNEYS AT LAW
                                                                               600 STEWART STREET, SUITE 1300
                                                                                 SEATTLE, WASHINGTON 98101
                                                                                       206.682.6224 (WENOKUR)
                                                                                        206.903.0401 (RIORDAN)

      Case 18-10441-TWD          Doc 71     Filed 10/08/19     Ent. 10/08/19 11:46:42           Pg. 1 of 2
 1
     Presented by:
 2
     WENOKUR RIORDAN PLLC
 3
     /s/ Alan J. Wenokur
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     ____________________________
 5   Alan J. Wenokur, WSBA #13679
     Attorney for Debtors
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25                                                               WENOKUR RIORDAN PLLC
     ORDER - Page 2 of 2                                                   ATTORNEYS AT LAW
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      Case 18-10441-TWD    Doc 71   Filed 10/08/19   Ent. 10/08/19 11:46:42   Pg. 2 of 2
